Case 1:20-cv-00484-RDA-TCB Document 594 Filed 03/31/22 Page 1 of 4 PageID# 15685




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                 CASE NO. 1:20-CV-484-RDA-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff / Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  PLW CAPITAL I, LLC; BW HOLDINGS;
  LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
              Interpleader Defendants /
              Interpleader Counter-Plaintiffs.


                    JOINT MOTION FOR A STATUS CONFERENCE
Case 1:20-cv-00484-RDA-TCB Document 594 Filed 03/31/22 Page 2 of 4 PageID# 15686




         Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (collectively, “Amazon”) and

  Defendants Brian Watson, WDC Holdings LLC dba Northstar Commercial Partners, NSIPI

  Administrative Manager, Sterling NCP FF, LLC, Manassas NCP FF, LLC, Casey Kirschner,

  Carleton Nelson, and Cheshire Ventures LLC (collectively, the “Parties”) jointly move the Court

  for a telephonic status conference on April 1, 2022 or at the Court’s earliest convenience. This

  matter currently has an April 8, 2022 fact discovery deadline (Dkt. 556). The Parties are

  expeditiously conducting fact discovery and are in ongoing discussions about the potential need to

  adjust the existing case schedule in light of existing and potential discovery motions, the need to

  adjust deposition dates, and other developments that may materially affect the case schedule. The

  Parties believe that obtaining guidance on these issues from the Court as promptly as possible will

  assist with their resolution. Currently, the Court is slated to hear Amazon’s Motion for Default

  Judgment against Defendants Finbrit Holdings LLC, AllCore Development LLC, NOVA WPC

  LLC, White Peaks Capital LLC, and Villanova Trust on April 1, 2022 (Dkt. 578). That motion is

  unopposed. The Parties respectfully suggest that the Motion for Default Judgment be considered

  on the papers and that at or in lieu of that hearing, the Court set a telephonic conference on April 1.

         For these reasons, the Parties respectfully request that this Court grant their Joint Motion

  for a telephonic status conference on April 1, 2022 or as soon as is convenient for the Court.
Case 1:20-cv-00484-RDA-TCB Document 594 Filed 03/31/22 Page 3 of 4 PageID# 15687




    Dated: March 31, 2022                       Respectfully submitted,                        D

                                                /s/ Michael R. Dziuban
    Veronica S. Moyé (pro hac vice)             Elizabeth P. Papez (pro hac vice)              V
    GIBSON, DUNN & CRUTCHER LLP                 Patrick F. Stokes (pro hac vice)               G
    2001 Ross Avenue, Suite 2100                Claudia M. Barrett (pro hac vice)              2
    Dallas, TX 75201                            David W. Casazza (pro hac vice)                D
    Telephone: (214) 698-3100                   Michael R. Dziuban (Va. State Bar No. 89136)   T
    Facsimile: (214) 571-2900                   GIBSON, DUNN & CRUTCHER LLP                    F
    vmoye@gibsondunn.com                        1050 Connecticut Avenue, N.W.                  v
                                                Washington, D.C. 20036-5306
                                                Telephone: (202) 955-8500
                                                Facsimile: (202) 467-0539
                                                epapez@gibsondunn.com
                                                pstokes@gibsondunn.com
                                                cbarrett@gibsondunn.com
                                                dcasazza@gibsondunn.com
                                                mdziuban@gibsondunn.com

             Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.

  Stanley L. Garnett                               /s/ Jeffrey Hamlin
  Justin L. Cohen                                  George R. Calhoun
  Amanda K. Houseal                                Jeffrey Hamlin
  Brownstein Hyatt Farber Schreck LLP              James M. Trusty
  410 Seventeenth St., Suite 2200                  Ifrah Law, PLLC
  Denver, CO 80202-4432                            1717 Pennsylvania Ave, N.W. Suite 650
  sgarnett@bhfs.com                                Washington, DC 20006
  jcohen@bhfs.com                                  george@ifrahlaw.com
  ahouseal@bhfs.com                                jhamlin@ifrahlaw.com
                                                   jtrusty@ifrahlaw.com

   Counsel for Defendants Brian Watson, WDC Holdings, LLC, NSIPI Administrative Manager,
                       Sterling NCP FF, LLC, Manassas NCP FF, LLC

  /s/ Rachel Friedman                              /s/ Casey Kirschner
  Alex Little                                      Casey Kirschner (via U.S. mail)
  Rachel Friedman                                  635 N. Alvarado Lane
  Burr & Forman LLP                                Plymouth, MN 55447
  222 Second Ave. South, Suite 2000                Casey.kirschner@gmail.com
  Nashville, TN 37201
  Alex.little@burr.com                             Pro se
  rfriedman@burr.com
  Counsel for Carleton Nelson and Cheshire



                                               2
Case 1:20-cv-00484-RDA-TCB Document 594 Filed 03/31/22 Page 4 of 4 PageID# 15688




  Ventures

                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 31, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system. I will then send the document and a notification of such filing

  (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



                                                      Casey Kirschner
                                                      635 N. Alvarado Lane
                                                      Plymouth, MN 55447
                                                      By email: casey.kirschner@gmail.com


                                               s/ Michael R. Dziuban
                                               Michael R. Dziuban
                                               GIBSON, DUNN & CRUTCHER LLP
                                               1050 Connecticut Avenue, N.W.
                                               Washington, D.C. 20036-5306
                                               Telephone: (202) 955-8500
                                               Facsimile: (202) 467-0539
                                               mdziuban@gibsondunn.com

                                               Counsel for Plaintiffs Amazon.com, Inc. and Amazon
                                               Data Services, Inc.




                                                  3
